
Per Curiam.
Tanya Cairns appeals a final order denying the Department of Revenue's proposed order to modify an administrative child support order. She contends the administrative law judge incorrectly calculated the father's child support obligation and effectively modified the parents' time-sharing arrangement by finding that the father had visitation with the child eighty percent of the time. Cairns' arguments appear to be based on a misreading of the child support guidelines worksheet. In calculating the child support obligation, the judge multiplied the father's basic support obligation by eighty percent, which represents the percentage of the other parent's overnight stays with the child. See § 61.30(11)(b)3., Fla. Stat. The judge did not find that the father had visitation eighty percent of the time. Nor did the order modify, in any way, the existing time-sharing plan. Because the judge's findings are supported by competent, substantial evidence, we affirm.
Rowe, Ray, and Osterhaus, JJ., concur.
